Case:18-10101-SDB Doc#:22 Filed:04/24/18 Entered:04/24/18 12:52:10                                             Page:1 of 1
                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF GEORGIA
                                                AUGUSTA DIVISION

In the Matter of:                                                              )                Chapter 13
Jeanette D Walker                                                              )
2133 Vandivere Rd                                                              )                Case No: 18-10101-SDB
Apt. 6-A                                                                       )
Augusta, GA 30904                                                              )

Debtor

                              TRUSTEE'S RESPONSE TO MOTION FOR RELIEF FROM
                               AUTOMATIC STAY OF TITLEMAX OF GEORGIA INC


        COMES NOW, the Chapter 13 Trustee Huon Le, by and through counsel, and files this response to the
Motion for Relief from Automatic Stay of Titlemax of Georgia Inc:

          1. The creditor has an allowed claim(s) (# 7) in the above-captioned case. Granting of stay relief coupled
             with payment on such claim(s) would constitute double recovery to the creditor.

          WHEREFORE, said Trustee prays:

                   (a) that Creditor's request for relief be denied; or

                   (b) in the alternative, should the Court grant stay relief under 11 U.S.C. Section 362, that the
                       claim(s) of the creditor be reconsidered and reduced to the amount paid with leave to seek
                       allowance of an unsecured deficiency claim following foreclosure in accordance with
                       applicable state law.

         This 24th day of April 2018.
                                                                /s/ Cortney Elam
                                                                Cortney Elam, Attorney for
                                                                Chapter 13 Trustee Huon Le
                                                                Georgia Bar No. 143688

                                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that copies of this Trustee's Response to Motion for Relief from
Automatic Stay have been forwarded by either electronic or first-class mail, postage prepaid, to the above-named
Debtor and the parties whose name appears below, on the 24th day of April 2018.

Seymour & Associates, Attorney At Law, 101 B Rossmore Pl, Augusta, GA 30909
Charles J Bowen, T he Bowen Law Group, 7 East Congress Street, Suite 1001, Savannah, GA 31401
                                                                /s/ Susan Baker
                                                                Office of the Chapter 13 Trustee
                                                                Post Office Box 2127
                                                                Augusta, GA 30903-2127
